       Case 1:20-cv-01986-ELR Document 45-1 Filed 06/08/20 Page 1 of 1




                      [PROPOSED] CONSENT ORDER

            For good cause shown, the parties’ Consent Motion to Set Time for

Muscogee Defendants to File a Responsive Pleading is hereby GRANTED.

Defendants Jenkins, Roberts, Scrimpshire, Parker and White shall have through and

including June 26, 2020 to file their answer or otherwise respond to the First

Amended Complaint in this matter.


      SO ORDERED this ____ day of _______________, 2020.


                                    _____________________________________
                                    Hon. Eleanor L. Ross, U.S. District Judge
